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14
                          UNITED STATES DISTRICT COURT
15
             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
16
17    MARIANO BENITEZ, individually
      and on behalf of all others similarly    Case No. 8:19-cv-00098-JLS-DFM
18    situated,
19                                             PLAINTIFF’S RESPONSE IN
                              Plaintiff,       OPPOSITION TO
20                                             DEFENDANT’S MOTION TO
                                               DISMISS THE CLAIMS OF ALL
21      v.                                     PUTATIVE NON-CALIFORNIA
22                                             CLASS MEMBERS
      POWERLINE FUNDING, LLC, a
23    New York limited liability company,      Date: June 7, 2019
                                               Time: 10:30 a.m.
24                                             Judge: Hon. Josephine L. Staton
                             Defendant.
                                               Place: Courtroom 10A
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 1   I.    INTRODUCTION
 2         Defendant Powerline Funding LLC (“Defendant” or “Powerline”) moves to
 3   dismiss on the grounds that the Court supposedly lacks personal jurisdiction over
 4   Defendant for the claims of any class members who do not reside in California.
 5   (Mot. to Dismiss, ECF 28.) Powerline’s Motion is premised entirely on the
 6   assertion that the Supreme Court’s recent decision in Bristol-Myers Squibb Co. v.
 7   Superior Court of Cal., 137 S. Ct. 1773 (2017), applies to this case. Defendant’s bid
 8   to dismiss such claims fails, however, as it ignores the trend of courts across the
 9   country, including this Court and others in this Circuit.
10         As explained below, Bristol-Myers is distinguishable from the present action
11   for a variety reasons, as outlined by a number of district courts that have recognized
12   the inapplicability of Bristol-Myers to class actions. Further, Defendant has not
13   demonstrated (or even argued) that answering for its nationwide telemarketing
14   activities in this Court would burden or prejudice Powerline—the Court can
15   therefore exercise personal jurisdiction without violating due process. Finally,
16   Powerline’s alternative motion to strike the class allegations lacks any support.
17   Accordingly, the Court should deny Defendant’s Motion to Dismiss.
18   II.   ARGUMENT
19         A.     The Bristol-Myers Decision Is Inapplicable To The Case At
20                Hand—The Court May Properly Exercise Personal Jurisdiction
21                Over Powerline For The Claims Of Benitez And The Class.
22         Underlying Powerline’s Motion to Dismiss is Defendant’s belief that the
23   Bristol-Myers opinion can be applied to deprive a federal court of personal
24   jurisdiction over out-of-state plaintiffs in a class action. However, this belief is
25   contradicted and outweighed by a growing number of decisions, including by this
26   Court, that application of Bristol-Myers should not be stretched beyond the
27   distinguishing bounds of the opinion.
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 1         In Bristol-Myers, the Supreme Court considered whether California state
 2   courts could exercise personal jurisdiction over a non-resident pharmaceutical
 3   company by a mix of resident and non-resident plaintiffs in a mass tort action.
 4   Bristol-Myers, 137 S. Ct. at 1777–78. The mass action in Bristol-Myers included
 5   the claims of 86 California residents and 592 residents of 33 other states, filed in
 6   eight separate complaints in California Superior Court. Id. at 1778. Applying
 7   “settled principles of personal jurisdiction,” the Supreme Court ultimately
 8   concluded that the California state court could not exercise personal jurisdiction
 9   over the claims of non-resident defendants because their claims did not arise from
10   or relate to the defendant’s contacts with California. Id. at 1781–83.
11         In the wake of the Bristol-Myers decision district courts have reached
12   differing conclusions about the opinion’s applicability to class actions.
13   Unsurprisingly, Powerline contends that “many courts” have applied Bristol-Myers
14   to class actions, relying on one case in the Northern District of Illinois. (ECF 28 at
15   11–12); see Chavez v. Church & Dwight Co., Inc., 2018 WL 2238191, at *10–11
16   (N.D. Ill. May 16, 2018). But far more cases, including those buried in Powerline’s
17   footnotes, have found wide-ranging support for the conclusion that Bristol-Myers
18   does not apply to class actions. When addressing this issue in comparable cases,
19   courts have employed the following justifications for not extending Bristol-Myers
20   to find a lack of personal jurisdiction:
21             • Class actions are legally distinguishable from mass torts. See
22                Cabrera v. Bayer Healthcare, LLC, 2019 WL 1146828, at *7–8 (C.D.
23                Cal. Mar. 6, 2019) (“Each plaintiff in a mass tort action is a real party
24                in interest, while the named plaintiffs in a putative class action are the
25                only ones actually named . . . . It is well settled that an individual is not
26                considered a party in every factual or legal setting.”); Fabricant v. Fast
27                Advance Funding, LLC, 2018 WL 6920667, at *5 (C.D. Cal. Apr. 26,
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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 1              2018) (“[T]he claims of unnamed members of a proposed class are not
 2              relevant to the determination of specific jurisdiction, only the claims of
 3              named plaintiffs. Thus, the personal jurisdiction analysis concerning
 4              named plaintiffs in a mass tort action is distinguishable from the
 5              personal jurisdiction analysis of unnamed members of a proposed
 6              nationwide class action. This is especially true where there are no facts
 7              yet to determine the location of members of the nationwide class or
 8              where those class members suffered their harm.”); In re Chinese-Mfgd.
 9              Drywall Prod. Liab. Litig., 2017 WL 5971622, at *14 (E.D. La. Nov.
10              30, 2017) (“[A] class action has different due process safeguards. . . .
11              [F]or a case to qualify for class action treatment, it needs to meet the
12              additional due process standards for class certification under Rule
13              23.”); Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc., 2017 WL
14              4224723, at *5 (N.D. Cal. Sept. 22, 2017) (“In class actions, the
15              citizenship of the unnamed plaintiffs is not taken into account for
16              personal jurisdiction purposes.”).
17           • Federal suits in federal court do not pose issues of foreign
18              sovereignty. See Sloan v. General Motors LLC, 287 F. Supp. 3d 840,
19              858–59 (N.D. Cal. 2018) (“[A]ll federal courts, regardless of where
20              they sit, represent the same federal sovereign, not the sovereignty of a
21              foreign state government. . . . [W]here a federal court presides over
22              litigation involving a federal question, the due process analysis does
23              not incorporate the interstate sovereignty concerns that animated
24              Bristol-Myers and which may be ‘decisive’ in a state court’s
25              analysis.”); Fabricant, 2018 WL 6920667, at *5 (“Plaintiff’s action
26              concerns a federal question, was brought in federal court, and does not
27              raise the same interstate federalism concerns found in Bristol-Myers.”);
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 1                see also Bristol-Myers, 137 S. Ct. at 1784 (“[W]e leave open the
 2                question whether the Fifth Amendment imposes the same restrictions
 3                on the exercise of personal jurisdiction by a federal court.”).
 4            • The Supreme Court did not address class actions in its opinion.
 5                Bristol-Myers, 137 S. Ct. at 1789 n.4 (Sotomayor, J., dissenting) (“The
 6                Court today does not confront the question whether its opinion here
 7                would also apply to a class action in which a plaintiff injured in the
 8                forum State seeks to represent a nationwide class of plaintiffs, not all
 9                of whom were injured there.”); see also Santos v. CarMax Business
10                Services, LLC, 2018 WL 7916823, at *5 (N.D. Cal. May 8, 2018)
11                (“That omission suggests that Bristol-Myers is not intended to extend
12                into the class action context.”).
13            • Bristol-Myers did not change the law. Bristol-Myers, 137 S. Ct. at
14                1781, 1783 (“Our settled principles regarding specific jurisdiction
15                control this case.”); Sloan, 287 F. Supp. 3d at 854 (“[T]he Supreme
16                Court expressly stated that its decision did not inaugurate a change in
17                law.”); Al Haj v. Pfizer Inc., 338 F. Supp. 3d 815, 818–19 (N.D. Ill.
18                2018) (“Bristol-Myers characterized its holding as a ‘straightforward
19                application ... of settled principles of personal jurisdiction.’ That
20                characterization is hard to square with the extraordinary sea change in
21                class action practice that Pfizer's reading of Bristol-Myers would
22                prompt.”) (citations omitted).
23         Hence, the weight of these decisions counsel against applying Bristol-Myers
24   to the present action. Plaintiff’s Complaint consists of federal law claims, brought
25   in federal court—foreign sovereignty issues are not implicated. Further, Plaintiff
26   brings this action on behalf of himself and a nationwide class of consumers in a
27   similar position; the class members are yet unnamed and unnumbered, and their
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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 1   citizenship is not relevant to the Court’s jurisdictional analysis. Defendant’s
 2   contention that the residence of absent, unidentified class members should be
 3   considered to strip the Court of personal jurisdiction over this action would require
 4   an “extraordinary sea change in class action practice.” Al Haj, 338 F. Supp. 3d at
 5   819. Such a sea change is not the logical result of Bristol-Myers, a case applying
 6   settled law of personal jurisdiction to claims from hundreds of named plaintiffs in a
 7   mass tort action.
 8         Nevertheless, even if the citizenship of unnamed class members were
 9   relevant to this inquiry (it is not), the Court could properly exercise pendent
10   jurisdiction over their claims. A court may exercise pendent personal jurisdiction
11   over a defendant for claims with no independent basis for jurisdiction if those
12   claims arise out of a common nucleus of operative facts that resulted in claims over
13   which the court does have jurisdiction. Action Embroidery Corp. v. Atlantic
14   Embroidery, Inc., 368 F.3d 1174, 1180 (9th Cir. 2004). The Ninth Circuit adopted
15   this doctrine in the interests of “judicial economy, avoidance of piecemeal
16   litigation, and overall convenience of the parties.” Id. at 1181. In the wake of
17   Bristol-Myers, this doctrine has since been applied to class actions for the same
18   reasons. Sloan, 287 F. Supp. 3d at 859–860 (finding that Action Embroidery’s
19   holding focused on whether the claims shared a nucleus of common facts, not
20   whether they belonged to the same plaintiffs). Here, Powerline does not dispute that
21   the Court has jurisdiction over the claims of Benitez and any in-state class
22   members, and the claims of all other class members arise from the same nucleus of
23   facts—they concern Defendant’s broad telemarketing activities, directed to
24   consumers throughout the nation in a uniform pattern. Indeed, this uniformity is a
25   requisite element of class actions. FED. R. CIV. P. 23(a)(2).
26         Powerline’s arguments for applying Bristol-Myers and dismissing the claims
27   of non-California class members are thinly supported and ignore the legal trends of
28
              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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 1   courts in this circuit and many others. The holding of Bristol-Myers did not concern
 2   class actions, and it is accordingly inapplicable to and distinguishable from the
 3   present action. In any event, the Court may properly exercise specific personal
 4   jurisdiction over Defendant.
 5         B.      Defendant Has Failed To Suggest Any Burden Or Due Process
 6                 Violation That Would Occur If The Case Continued In This
 7                 Court.
 8         As Defendant points out in its Motion, an exercise of personal jurisdiction
 9   over a nonresident defendant must be consistent with due process. The primary
10   concern of such an analysis, however, focuses on the burden that a defendant would
11   supposedly face. Powerline, somewhat predictably, has not suggested any burden
12   that defending this case in the Central District of California would impose (because
13   no such burden exists). The Court may exercise jurisdiction over this action without
14   violating due process.
15         The Supreme Court’s standard provides that a nonresident defendant must
16   have “certain minimum contacts with [the State] such that the maintenance of the
17   suit does not offend traditional notions of fair play and substantial justice.” Bristol-
18   Myers, 137 S. Ct. at 1785 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
19   (1945)) (internal quotations omitted). This inquiry focuses on the relationship
20   between the defendant, the forum, and the litigation. Axiom Foods, Inc. v. Acerchem
21   Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017). The primary concern in the analysis
22   is “the burden on the defendant.” Id. (quoting Bristol-Myers, 137 S. Ct. at 1780).
23   That said, restrictions on personal jurisdiction are not just a matter of whether
24   litigation is inconvenient or distant—they are “a consequence of territorial
25   limitations on the power of the respective states.” Hanson v. Denckla, 357 U.S. 235,
26   251 (1958). Accordingly, even if the forum state is convenient, “the Due Process
27   Clause, acting as an instrument of interstate federalism, may sometimes act to
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 1   divest the State of its power to render a valid judgment.” Bristol-Myers, 137 S. Ct.
 2   at 781 (quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 294
 3   (1980)).
 4         Applied here, however, Defendant has not pointed to any burden or due
 5   process concern that would be implicated by defending the present action in this
 6   Court. Even though the purported class includes non-California residents, Plaintiff
 7   Benitez is a California resident, and the harm that he alleges in his Complaint arises
 8   from Powerline’s telemarketing activities directed into California (the same harm
 9   that affected all other class members). Thus, Defendant has sufficient minimum
10   contacts with the forum state as it relates to Plaintiff’s claims, and Powerline could
11   anticipate defending itself in this Court. Further, Defendant could not plausibly
12   suggest that it would be less burdensome to proceed only with the claims of
13   California class members—doing so would create the possibility for duplicative
14   proceedings in as many as 49 other states, all concerning the exact same activity
15   challenged under the exact same federal law. This is precisely the kind of tedium
16   and judicial inefficiency that class actions are intended to prevent. See, e.g., Am.
17   Pipe & Const. Co. v. Utah, 414 U.S. 538, 550 (1974) (noting that federal class
18   actions are representative suits “designed to avoid, rather than encourage,
19   unnecessary filing of repetitious papers and motions.”).
20         Likewise, federalism concerns are not implicated here, and the Court may
21   resolve this case without risking any prejudice to Defendant. As an example, the
22   defendant in Sloan attempted to argue that a federal court sitting in Florida might be
23   more familiar with Florida law than a federal court sitting in California. Sloan, 287
24   F. Supp. 3d at 862. The court skeptically rejected this argument: “it is not clear how
25   that translates into a burden, let alone an unreasonable one.” Id. Further, the court
26   was unpersuaded because federal courts are frequently called upon to interpret and
27   apply state laws. Id. Powerline’s position is even weaker and it cannot even pose
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                PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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 1   this (unpersuasive) argument—the claims at issue are based entirely in federal law.
 2   Indeed, the TCPA applies evenly throughout the United States, and it is routinely
 3   and uniformly interpreted by federal district courts.
 4          Defendant will not suffer any burden or prejudice as a result of the Court
 5   exercising jurisdiction over this class action. Powerline has directed its
 6   telemarketing activities into California, and Plaintiff’s federal law claim arises from
 7   those activities. Further, adjudicating the claims of all class members at once in this
 8   action will not burden Powerline. Proceeding in this Court does not offend
 9   traditional notions of fair play or substantial justice, and Defendant’s due process
10   rights are not at risk.
11          C.     Plaintiff’s Class Allegations Should Not Be Stricken.
12          Finally, as an alternative to dismissal of the claims of non-California class
13   members, Powerline briefly asks the Court to strike Plaintiff’s class allegations.
14   Rule 12(f) permits the Court to strike from the pleadings any “redundant,
15   immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). Defendant has
16   provided no argument whatsoever to suggest that Plaintiff’s class allegations are
17   redundant, immaterial, impertinent, or scandalous. (See ECF 28, at 12–13.) Instead,
18   Powerline relies again on its Bristol-Myers interpretive argument, citing to the
19   proposition that courts may also “strike class allegations that cannot possibly move
20   forward on a classwide basis.” (Id. at 12); Am. W. Door & Trim v. Arch Specialty
21   Ins. Co., 2015 WL 1266787, at *3 (C.D. Cal. Mar. 18, 2015).
22          Of course, Defendant fails to note that the courts “have long disfavored Rule
23   12(f) motions, granting them only when necessary to discourage parties from
24   making completely tendentious or spurious allegations.” Am. W. Door & Trim,
25   2015 WL 1266787, at *3 (quoting Sapiro v. Encompass Ins., 221 F.R.D. 513, 518
26   (N.D. Cal. 2004). Moreover, it is well-settled that a determination that a case cannot
27   proceed on a class basis is more appropriately addressed during class certification
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              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1   briefing, not in a motion to strike. See Am. W. Door & Trim, 2015 WL 1266787, at
  2   *7 (“Rule 23 is the better vehicle to test the propriety of class certification.”)
  3   (quoting Connelly v. Hilton Grant Vacations Co., LLC, 2012 WL 2129364, at *3
  4   (S.D. Cal. June 11, 2012)). Indeed, courts generally refuse to strike class
  5   allegations unless it is obvious from the face of the pleadings that certification
  6   would be impossible. See Manning v. Boston Medical Ctr. Corp., 725 F.3d 34, 59
  7   (5th Cir. 2013). Defendant has failed to make such a showing here.
  8          On the other hand, Plaintiff has demonstrated herein that the case can
  9   proceed on a class basis, including those class members who do not reside in
 10   California, because Bristol-Myers does not strip the Court of jurisdiction over this
 11   action. Powerline has provided no credible basis for striking the class allegations,
 12   and the Court should thus deny the motion to strike as well.
 13   III.   CONCLUSION
 14          The Court should deny Powerline’s Motion to Dismiss. The Bristol-Myers
 15   opinion upon which Defendant premises its motion is inapplicable to this case—the
 16   Court has specific personal jurisdiction over the claims. Further, Powerline will not
 17   experience any burden or due process violation by defending the claims in this
 18   Court. Accordingly, the Court should deny Defendant’s motion and award any such
 19   relief as it deems necessary and just.
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 21                                            Respectfully Submitted,
 22                                            MARIANO BENITEZ, individually and on
 23                                            behalf of all others similarly situated,
 24
      Dated: May 17, 2019                      By:     /s/ Steven L. Woodrow
 25                                                     One of Plaintiff’s Attorneys
 26
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 27                                              aaron@aftergoodesq.com
                                               THE AFTERGOOD LAW FIRM
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 12                                       *Pro Hac Vice

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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on May 17, 2019.
  5                                         /s/ Steven L. Woodrow
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